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                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

          In re:                                  )
          DANIEL AND JILL KING,                   )      Case No.
                 Debtor(s).                       )      Hearing Date:
                                                  )      Hearing Time:
                                                  )      Hearing Location:

                                          CHAPTER 13 PLAN

   PAYMENTS. Debtor is to pay to the Chapter 13 Trustee the sum of the following
   amounts:

       $925.00 per month for 60 months.

       $____________ per month for _______ months, then $__________ per month for
       _______ months, then $__________ per month for ________ months.

       A total of $___________ through ____________, then $_______ per month for
       ______ months beginning with the payment due in _____________, 20____.

   In addition, Debtor shall pay to the Trustee, and the plan base shall be increased by the
   following:

   (1) Tax Refund. Debtor shall send any tax refund received during the pendency of the
   Chapter 13 case to the Trustee; however, Debtor may retain a portion of a tax refund to
   pay income taxes owed to any taxing authority for the same period as the refund. Debtor
   may also retain $1,250 for single filers or $1,500 for joint filers and refundable tax credits
   consisting of Earned Income Credit (EIC) and Additional Child Tax Credit, each year.
   (2) Employee Bonuses. Debtor shall send fifty percent of any employee bonus or other
   distribution paid or payable to Debtor during the term of the plan. (3) Additional Lump
   Sums. Debtor shall send additional lump sums(s) consisting of _________, if any, to be
   paid to the Trustee.

   DISBURSEMENTS. Creditors shall be paid in the following order and in the
   following fashion. Unless stated otherwise, the Chapter 13 Trustee will make the
   payments to creditors. All disbursements by the Trustee to be made pro-rata by
   class, except per month disbursements described below. However, if there are
   funds available after payment of equal monthly payments in paragraph 5 and fees
   in paragraph 6, those funds shall be distributed again to those same paragraphs
   until paid in full before distributing to the next highest paragraphs:

   1. Trustee and Court Fees. Pay Trustee a percentage fee as allowed by law and pay
   filing fees if the Court enters an order providing for filing fees to be paid in the Chapter
                                                                                (L.F. 13 Rev. 5/2015)
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   13 plan.

   2. Executory Contract/Lease Arrearages. Trustee to cure pre-petition arrearage on
   any executory contract accepted in paragraphs 3(A or B) over the following period,
   estimated as follows:
    CREDITOR NAME                        TOTAL AMOUNT DUE              CURE PERIOD
                                                                               6

   3. Pay sub-paragraphs concurrently:

       (A) Post-petition real property lease payments. Debtor assumes executory
       contract for real property with the following creditor(s) and proposes to maintain
       payments in accordance with terms of the original contract as follows:
    CREDITOR NAME                 MONTHLY PAYMENT               BY DEBTOR/TRUSTEE




       (B) Post-petition personal property lease payments. Debtor assumes executory
       contract for personal property with the following creditor(s) and proposes to
       maintain payments in accordance with terms of the original contract as follows:
     CREDITOR NAME                MONTHLY PAYMENT               EST MONTHS REMAINING




       (C) Continuing Debt Payments (including post-petition mortgage payments on
       real estate other than Debtor's residence). Maintain payments of the following
       continuing debt(s) in accordance with terms of the original contract with any
       arrearages owed at the time of filing to be cured in paragraph 5(A) below.
     CREDITOR NAME                       MONTHLY PAYMENT
   Ford Motor Credit                     $349.11
   Fifth Third Bank                      $383.81

       (D) Post-petition mortgage payments on Debtor's residence. Payments due post-
       filing on debt(s) secured by lien(s) on Debtor(s) residence to be at the monthly
       amount listed below (or as adjusted by creditor under terms of loan agreement) to:
     CREDITOR NAME                MONTHLY PAYMENT               BY DEBTOR/TRUSTEE
   Rushmore Loan Mgt.             $1128.59                      Debtor
   Ocwen Loan Servicing           $157.41                       Debtor

       (E) DSO Claims in equal installments. Pay any pre-petition domestic support
       obligation arrears (not provided for elsewhere in this plan) in full in equal monthly
       installments over the life of the plan, estimated as:
     CREDITOR NAME                       TOTAL AMOUNT DUE              INTEREST RATE




   4. Attorney Fees. Pay Debtor's attorney $1500.00 in equal monthly payments over 12
    months. Any additional fees allowed by the Court shall be paid pursuant to paragraph 6
                                                                            (L.F. 13 Rev. 5/2015)
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    below.

   5. Pay sub-paragraphs concurrently:

       (A) Pre-petition arrears on secured claims paid in paragraph 3. Pay pre-
      petition arrearage on debts paid under paragraphs 3 (C) or (D) in equal monthly
      installments over the period set forth below and with the interest rate identified
      below, estimated as follows:
     CREDITOR NAME        TOTAL AMOUNT DUE               CURE PERIOD      INTEREST RATE
                                                         48 Months             0.0%

      (B) Secured claims to be paid in full. The following claims shall be paid in full in
      equal monthly payments over the period set forth below with 5.00% interest.
     CREDITOR     EST BALANCE DUE                  REPAY PERIOD         TOTAL w/ INTEREST
                                                   60 Months

      (C) Secured claims subject to modification. Pay all other secured claims the fair
      market value of the collateral, as of the date the petition was filed, in equal monthly
      payments over the period set forth below with 5.00% interest and with any balance
      of the debt to be paid as non-priority unsecured debt under paragraph 9 (A),
      estimated as set forth below:
     CREDITOR     BALANCE DUE        FMV           REPAY PERIOD         TOTAL w/ INTEREST
                                                   60 Months


      (D) Co-debtor guaranteed debt paid in equal monthly installments. The
      following co-debtor guaranteed claims(s) to be paid by Trustee or by the co-debtor
      as noted below. If paid by Trustee, pay claim in equal monthly installments over the
      period set forth below and with interest as identified below.
     CREDITOR     EST BALANCE TRUSTEE/CO-DEBTOR               PERIOD       INTEREST RATE


      (E) Pay any post-petition fees and costs as identified in a notice filed per Federal
      Rule of Bankruptcy Procedure 3002.1 as a supplement to an allowed claim or any
      other post-petition fees and costs which the Court allows and orders the Trustee to
      pay. Any such amounts shall be paid in equal monthly payments over the remainder
      of the plan duration and shall not receive interest.


   6. Pay $1500.00 of debtor's attorney's fees and any additional attorney fees allowed by
   the Court.


   7. Pay sub-paragraphs concurrently:

      (A) Unsecured Co-debtor guaranteed claims. The following unsecured co-debtor
      guaranteed debt to be paid by Trustee or by the co-debtor as noted below. If paid by
      Trustee, pay claim in full with interest rate as identified below.
                                                                             (L.F. 13 Rev. 5/2015)
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     CREDITOR NAME         EST TOTAL DUE            TRUSTEE/CO-DEBTOR          INTEREST RATE



       (B) Assigned DSO Claims. Domestic support obligation arrearages assigned to, or
       recoverable by, a governmental unit, to be paid a fixed amount with the balance to
       be owed by the Debtor(s) after completion of the Plan, pursuant to § § 507(a)(1)(B)
       and 1322(a)(4). Regular payments that become due after filing shall be paid
       directly by Debtor(s).
     CREDITOR              TOTAL DUE             TOTAL AMOUNT PAID BY TRUSTEE
                                            (100% or lesser dollar amount enumerated here)


     8. Priority Claims. Pay the following priority claims allowed under 11U.S.C.
     section 507 in full, estimated as follows:
       CREDITOR NAME                      TOTAL AMOUNT DUE



   9. Pay the following sub-paragraphs concurrently:

        (A) General Unsecured Claims. Pay non-priority, unsecured creditors. Estimated
        total owed: $121541.39. Amount required to be paid to non-priority unsecured
        creditors as determined by 1325(a)(4) hypothetical Chapter 7 liquidation
        calculation: $0. Amount required to be paid to non-priority unsecured creditors as
        determined by 1325(b) calculation: $207.08. Debtor guarantees a minimum of
        $207.08 will be paid to non-priority unsecured creditors.

        (B) Surrender of Collateral. Debtor proposes to surrender the following
        collateral to the following creditor(s) with any deficiency paid as non-priority
        unsecured debt:
        CREDITOR               COLLATERAL


        (C) Rejected Executory Contracts/Leases. Debtor rejects the following
        executory contract(s) with the following creditor(s). Any balance to be paid as
        non-priority unsecured debt:
        CREDITOR               CONTRACT/LEASE


   10. Other:

   11. All secured creditors shall retain the liens securing their claims until the earlier of
   the payment of the underlying debt determined under non-bankruptcy law or discharge
   under section 1328. However, the Debtor will request avoidance of non-purchase
   money liens secured by consumer goods as well as judicial liens which impair
   exemptions and said creditors will not retain their liens if the Court enters an order
   granting the Debtor's request to avoid the liens.

   12. Any pledged credit union shares or certificates of deposit held by any bank shall be
   applied to the amount owed such Claimant.
                                                                                 (L.F. 13 Rev. 5/2015)
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   13. Title to Debtor's property to re-vest in Debtor upon confirmation. Debtor is not to
   incur further credit or debt without the consent of the Court unless necessary for the
   protection of life, health or property and consent cannot be obtained readily. Within
   fourteen days of filing federal and state income tax returns, Debtor shall provide a copy
   of each return to the Chapter 13 Trustee.

   14. Any post-petition claims filed and allowed under 11 U.S.C. section 1305 may be
   paid through the plan.

   CREDITOR'S NOTICE: YOU MUST FILE A CLAIM IN ORDER TO PARTICIPATE
   IN DISBURSEMENTS PROPOSED HEREIN. CLAIMS SHALL SHARE ONLY IN
   FUNDS DISBURSED AFTER THE CHAPTER 13 TRUSTEE RECEIVES THE
   CLAIM. IN COMPLIANCE WITH ORDER OF THE COURT, ABSENT A SPECIFIC
   ORDER OF THE COURT TO THE CONTRARY, THE CHAPTER 13 TRUSTEE,
   RATHER THAN THE DEBTOR, WILL MAKE ALL PRE-CONFIRMATION
   DISBURSEMENTS PURSUANT TO SECTION 1326(a).       ALL CREDITORS
   ENTITLED TO PRE-CONFIRMATION DISBURSEMENTS, INCLUDING LEASE
   CREDITORS, MUST FILE A PROOF OF CLAIM TO BE ENTITLED TO RECEIVE
   SUCH PAYMENTS FROM THE CHAPTER 13 TRUSTEE. PURSUANT TO LOCAL
   RULE, THE PROOF OF CLAIM SHALL CONTROL THE VALUATION OF
   COLLATERAL AND ANY VALUATION STATED IN THE PLAN SHALL NOT BE
   BINDING ON THE CREDITOR. THE TRUSTEE, IN HIS SOLE DISCRETION,
   MAY DETERMINE TO RESERVE FUNDS FOR PAYMENT TO ANY CREDITOR
   SECURED BY A MORTGAGE ON REAL ESTATE PENDING FILING OF A CLAIM.



   DATE: ___________                    DEBTOR: _______________________________


   DATE: ___________                    DEBTOR: _______________________________




                                                                            (L.F. 13 Rev. 5/2015)
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